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IN THE UNITED sTATEs DISTRICT coURT ~ww
FOR THE wEsTERN DISTRICT oF TENNESSEE
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v¢D.CF mm MEMPHG

 

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. OS-ZOOBO-Ma

VS.

LANDO TATE,

~._,v~_-`_¢\-._.¢~.._,~._,-_.,¢~_,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for ai report. date on. April. 2l, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July 15, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and 3161(h)(1)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the

315.5»

IT rs so oRDERED this day of May, 2005.

MMLW

need for a speedy trial.

 

   
    

SAMUEL H. MAYS, JR.

"chrnentsrne
md@nmedmm::;{ii UNITED sTATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20050 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

